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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO

KEVIN GOULD,

          Plaintiff,

          v.                                                  No. 1:19-cv-00382 WJ/JFR

MICHAEL WYSE,
WYSE ADVISORS, LLC,
DW PARTNERS, and
CRYSTAL FINANCIAL,

          Defendants.


                            ORDER GRANTING JOINT MOTION
                    FOR EXTENSION OF CASE MANAGEMENT DEADLINES

              THIS MATTER having come before the Court on the Plaintiff’s Unopposed Motion for

 Extension of time of Case Management Deadlines (Doc. 97), and being fully advised in the

 premises, finds the Motion is well-taken and should be granted.

              IT IS THEREFORE ORDERED that the case management deadlines are extended

 as follows:

          Termination date for discovery: February 17, 2023

          Motions relating to discovery: March 10, 2023

          Pretrial motions other than discovery motions: March 20, 2023

          All other requirements of the Order Adopting Joint Status Report and Provisional

Discovery Plan and Setting Case Management Deadlines (Doc. 66) shall remain in effect.

          IT IS SO ORDERED.

                                               __________________________________________
                                               JOHN F. ROBBENHAAR
                                               United States Magistrate Judge




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Approved for Entry by:

HARRISON, HART & DAVIS, LLC

By:/s/ Nicholas T. Hart
Nicholas T. Hart
Daniel J. Gallegos
924 Park Avenue SW, Suite E
Albuquerque, NM 87102
505.295.3261
nick@harrisonhartlaw.com
daniel@harrisonhartlaw.com
Attorneys for Plaintiff

BURR & FORMAN LLP

By: Approved by Email 12/19/2022
Emily C. Taube
222 Second Avenue South, Suite 2000
Nashville, TN 37201
615.724.3237
etaube@burr.com
Attorneys for Defendant DW Partners LP




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